
306 S.W.3d 703 (2010)
In the Interest of: K.N.H. and T.A.
No. ED 93561.
Missouri Court of Appeals, Eastern District, Division One.
March 23, 2010.
Brenda Stacey, Hillsboro, MO, for appellant.
Scott Summers, Hillsboro, MO, for respondent.
Before KATHIANNE KNAUP CRANE, P.J., CLIFFORD H. AHRENS, J., and NANNETTE A. BAKER, J.

ORDER
PER CURIAM.
Leslie Arnall ("Mother") appeals from a judgment in the circuit court of Jefferson County terminating her parental rights to her children, K.N.H. and T.M. A. Mother claims that the trial court erred in admitting the investigation and social study required under Section 211.455 in that it was not prepared by an objective observer to the case. Mother also claims that the trial court erred in finding that the juvenile officer proved by clear, cogent and convincing evidence that Mother's parental rights should be terminated pursuant to Section 211.477.5(3) and that termination was in the best interests of the Children.
We have reviewed the briefs of the parties and the record on appeal and find the claims of error to be without merit. No jurisprudential purpose would be served by a written opinion reciting the detailed facts and restating the principles of law. The parties have been furnished with a memorandum opinion for their information *704 only, which sets forth the facts and reasons for this order.
We affirm the judgment pursuant to Rule 84.16(b).
